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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA                        *
                                                * CRIMINAL NO. 14-00218-CG
v.                                              *
                                                *
CHERYL A. DOTSON                                *

                   PRELIMINARY ORDER OF FORFEITURE

      WHEREAS, in the Indictment in the above-entitled case, the United States

sought forfeiture of property which represented a sum of money equal to the

proceeds obtained, directly or indirectly as a result of the violation(s) of Title 18,

United States Code, Section 1014 by defendant CHERYL A. DOTSON, pursuant to

Title 18, United States Code, Section 982(a)(2)(A);

      AND WHEREAS, based upon the Indictment, the jury verdict entered on

April 16, 2015, (Doc. 130) against the defendant CHERYL A. DOTSON, and the

order of the Court awarding a money judgment in favor of the United States in the

amount of $34,030.00;

      WHEREAS, the United States has filed a Motion for Preliminary Order of

Forfeiture which would consist of a personal money judgment against the defendant

in the amount of $34,030.00; and

      WHEREAS, Rule 32.2(c)(1) provides that “no ancillary proceeding is required

to the extent that the forfeiture consists of a money judgment,”.

      Now therefore, it is hereby ORDERED, ADJUDGED AND DECREED:

      That the defendant shall forfeit to the United States the sum of $34,030.00,

pursuant to subject to the provisions of Title 18, United States Code, Section 982;

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      That the aforementioned property is authorized to be held by the United

States Marshals Service in their secure custody and control; and

      That this Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

      IT IS FURTHER ORDERED that, pursuant to Rule 32.2(b)(3), this Order of

Forfeiture shall become final as to the defendant at the time of sentencing, and

shall be made part of the sentence and included in the judgment.

      IT IS FURTHER ORDERED that the United States, may, at any time, move

pursuant to Rule 32.2(e) to amend this Order of Forfeiture to substitute property

having a value not to exceed $34,030.00 to satisfy the money judgment in whole or

in part.

      The Clerk of the Court shall forward a certified digital copy of this Order to

Assistant U.S. Attorney Christopher J. Bodnar, U.S. Attorney’s Office, Southern

District of Alabama.

      DONE and ORDERED this 10th day of August, 2015.


                                        /s/ Callie V. S. Granade
                                        UNITED STATES DISTRICT JUDGE




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